Case 3:19-cv-00098-SMY-RJD Document 32 Filed 10/01/19 Page 1 of 2 Page ID #95



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 3D LASERS LAB LLC,                           )
                                              )
               Plaintiff,                     )
                                              )
 v.                                           )        Case No. 3:19-cv-98-SMY-RJD
                                              )
 STEPHEN P. BENBOW, d/b/a                     )
 SPINTECH,                                    )
                                              )
               Defendant.                     )


                                  NOTICE OF SETTLEMENT

        COMES NOW Plaintiff 3D Lasers Lab LLC (“Plaintiff”), by and through undersigned

 counsel, and states the following to the Court after conferring with counsel for Defendant

 Stephen P. Benbow d/b/a Spintech (“Defendant”):

        1.     Plaintiff and Defendant have settled the above-captioned case.

        2.     Counsel for Plaintiff and counsel for Defendant require time to complete a final,

 formal settlement agreement.

        3.     Plaintiff expects final settlement documents to be executed and full performance

 on the time-sensitive terms of the settlement agreement by December 2, 2019.

        4.     The parties will file a Stipulation of Dismissal with Prejudice, with each party to

 pay his or its own attorneys’ fees and costs, once the settlement documents have been executed

 by the parties and delivered to all counsel and after the time-sensitive terms of the settlement

 agreement are fully performed.

        5.     The parties have agreed to postpone all pending discovery obligations while these

 settlement arrangements are finalized.
Case 3:19-cv-00098-SMY-RJD Document 32 Filed 10/01/19 Page 2 of 2 Page ID #96



 Dated:   October 1, 2019            Respectfully submitted,

                                     DONNER APPLEWHITE, ATTORNEYS AT LAW

                               By:    /s/ Thomas R. Applewhite
                                      Thomas R. Applewhite, # 6310947
                                      1108 Olive Street, Suite 200
                                      St. Louis, Missouri 63101
                                      Phone:       (314) 293-3526
                                      Facsimile: (888) 785-4461
                                      Email:       tom.applewhite@da-lawfirm.com

                                      Attorneys for Plaintiff


                                CERTIFICATE OF SERVICE

         I hereby certify that, on October 1, 2019, I electronically filed the foregoing with the
 Clerk of Court using the CM/ECF system, which will send notification of such filing to all
 parties to this action.
                                           /s/ Thomas R. Applewhite




                                               -2-
